      Case: 3:17-cr-00033-SA-RP Doc #: 110 Filed: 09/08/17 1 of 2 PageID #: 224




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                    CRIMINAL ACTION NO.: 3:17CR33-SA

BOBBY FRED WILLIAMSON

                                 ORDER SETTING SENTENCING

         Pursuant to the change of plea hearing held September 8, 2017, and the Defendant’s
adjudication of guilt,

         IT IS HEREBY ORDERED that,

         1. The sentencing hearing in this matter is set Wednesday, January 17, 2018, at 11:30

AM, Courtroom 1, Third Floor of the Aberdeen Federal District Court.

         2. The United States Probation Office shall conduct a presentence investigation and

prepare a presentence report. FED. R. CRIM. P. 32(c) and (d), 18 U.S.C. § 3552(a), and U.S.S.G. §

6A1.1.

         3. The probation officer shall disclose the completed report to counsel for the defendant

and counsel for the government on or before December 13, 2017. Except for proposed special

conditions of supervision, the probation officer shall not disclose any recommendation made or

to be made to the Court. FED. R. CRIM. P. 32(e)(3).

         4. Counsel shall attempt in good faith to resolve disputes over any material in the

presentence report.      All arithmetical, typographical, or other clear error should be handled

informally, by counsel, with the probation officer.      Any unresolved objections to material

information, sentencing guideline ranges, and policy statements contained in or omitted from the

presentence report, shall be filed as a restricted document by the objecting party on or before
      Case: 3:17-cr-00033-SA-RP Doc #: 110 Filed: 09/08/17 2 of 2 PageID #: 225




December 27, 2017. FED. R. CRIM. P. 32(f)(2) and U.S.S.G. § 6A1.2(b). Any unresolved

objections will be included in the addendum to the presentence report.

       5. Sentencing memoranda and/or supporting documents addressing all relevant

sentencing issues, including reference letters and motions for departure, shall be filed as

restricted documents by the appropriate party on or before January 3, 2018. Any unresolved

objections will be included in the presentence report; objections should not be included in a

sentencing memorandum.

       6. The presentence report, in final form, including any unresolved objections, will be

delivered to the Court and the parties on or before January 10, 2018. FED. R. CRIM. P. 32(g) and

U.S.S.G. § 6A1.2 (c ).

       7. The Court will resolve objections to the presentence report at the sentencing hearing.

FED. R. CRIM. P. 32(i) and U.S.S.G. § 6A1.3.

       8. All parties that intend to have witnesses testify at sentencing shall give notice to the

Court ten (10) days prior to the sentencing date.


       This the 8th day of September, 2017.

                                                    _/s/ Sharion Aycock_______________
                                                    U.S. DISTRICT JUDGE
